     Case 3:17-cv-01752-SDD-RLB              Document 56       04/30/19 Page 1 of 2

                         UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA

FREDRICK JOHNSON                                           C.A. NO.: 17-1752-SSD-RLB

VERSUS

MIKE CAZES WEST BATON ROUGE
SHERIFF, ET AL.



                               AMENDED CONTESTED FACTS

         1. Whether or not Officer Chutz made the decision not to transport Fredrick Johnson

            to the hospital.

         2. Whether or not Officer Chutz knew what she was doing when she signed

            Acadian’s transport waiver form without Fred Johnson’s consent.

         3. Whether or not Officer Violated Fredrick Johnson constitutional rights.

         4. Any and all other facts listed in Defendant’s list of uncontested facts.


    Respectfully submitted,



                                           /s/ Oliver Benford Hadley
                                           _______________________________
                                           Oliver B. Hadley (#36980)
                                           Oliver Hadley Law, L.L.C.
                                           935 Gravier St., Ste. 840
                                           New Orleans, LA 70112
                                           (504) 641-4529
                                           (504) 681-9595 (fax)
                                           obh@ohadleylaw.com




                                          Page 1 of 2
         Case 3:17-cv-01752-SDD-RLB            Document 56         04/30/19 Page 2 of 2

                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

FREDRICK JOHNSON                                             C.A. NO.: 17-1752-SSD-RLB

VERSUS

MIKE CAZES WEST BATON ROUGE
SHERIFF, ET AL.




                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed with the Clerk of Court

using the CM/ECF system. Notice of this filing will be sent to all counsel of record by operation

of the court’s electronic filing system.

               New Orleans, Louisiana, this 19th day of April 2019.


                                       /s/ Oliver Benford Hadley
                                      ____________________




                                            Page 2 of 2
